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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                           CRIMINAL DOCKET

VERSUS                                                                                             No. 10-154

DAVID WARREN, ET AL                                                                           SECTION “I”



                                        ORDER AND REASONS

        Defendant, Robert Italiano (“Italiano”), moves this Court to find that the superseding

indictment improperly joins counts three and four with the superseding indictment’s other

counts. Italiano moves for a severance of counts 3 and 4 owing to the alleged prejudice he will

suffer as a result of joinder. Because this Court finds that joinder is proper, that defendant has

made an insufficient showing of prejudice, and that jury instructions will suffice to cure any

potential prejudice that may arise during the course of the trial, the motion is DENIED.1

I.      BACKGROUND

        This case concerns the alleged shooting and burning of Henry Glover in the immediate

aftermath of Hurricane Katrina, the alleged obstruction into a federal investigation of those

crimes, and the circumstances surrounding such events. The government’s eleven-count

superseding indictment charges five former and current New Orleans Police Department

(“NOPD”) officers in connection with these alleged crimes. The government has not alleged a

conspiracy. Furthermore, no officer is charged in every count of the superseding indictment.



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  One of Italiano’s codefendants, David Warren, filed a motion to sever on August 6, 2010. The government
responded on August 13, 2010. During a September 1, 2010 status conference, the Court ordered Warren, and any
other defendant who chose to do so, to brief the issue of whether counts 3 and 4 are properly joined with the
superseding indictment’s other counts by September 9, 2010. In response to such order, Italiano filed the motion
currently under consideration.
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       David Warren (“Warren”) is charged in counts 1 and 2 of the superseding indictment.

Count 1 charges that Warren, while acting under color of law as an NOPD officer, shot Henry

Glover on or about September 2, 2005 without legal justification, willfully depriving Glover of

the right to be free from the use of unreasonable force by a law enforcement officer. The

government alleges that such crime involved the use of a dangerous weapon and an attempt to

kill, resulting in bodily injury to, and the death of, Henry Glover. Count 2 charges that, on or

about September 2, 2005, Warren possessed, carried, and discharged a rifle during the

commission of the civil rights offense charged in count 1 and that such discharge caused Henry

Glover’s death. The government further alleges that Henry Glover’s death involved

circumstances constituting murder.

       Dwayne Scheuermann (“Scheuermann”) and Gregory McRae (“McRae”) are charged in

counts 3 through 7. Count 3 alleges that on or about September 2, 2005, Scheuermann and

McRae, while acting under color of law as NOPD officers, deprived EK and WT of the right to

be free from the use of unreasonable force by law enforcement officers and caused bodily injury

to EK and WT.

       Count 4 alleges that on or about September 2, 2005, Scheuermann and McRae, while

acting under color of law as NOPD officers, and while aiding and abetting one another,

unreasonably seized WT’s vehicle by burning it without legal justification, thereby depriving

WT of the right to be free from an unreasonable search and seizure by law enforcement officers.

Count 4 further alleges that Scheuermann and McRae used fire and a dangerous weapon during

the alleged offense.

       Count 5 alleges that on or about September 2, 2005, Scheuermann and McRae, while

acting under color of law as NOPD officers and without legal justification, while aiding and

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abetting one another, burned Henry Glover’s body, depriving Henry Glover’s family of their

rights to have access to the courts and to seek legal redress for a harm. Count 5 also alleges that

Scheuermann and McRae used fire and a dangerous weapon during the alleged offense.

       Count 6 alleges that on or about September 2, 2005, Scheuermann and McRae aided and

abetted one another in knowingly destroying evidence with intent to impede, obstruct, and

influence the investigation and proper administration of a matter within the jurisdiction of the

Federal Bureau of Investigation (“FBI”). Specifically, count 6 charges these defendants with

burning a 2001 Chevrolet Malibu containing the body of Henry Glover with the intent to impede,

obstruct, and influence the investigation of the September 2, 2005 shooting of Henry Glover by a

NOPD officer. Count 7 charges Scheuermann and McRae with aiding and abetting each other

and using fire to commit the felonies alleged in counts 4, 5, and 6.

       Count 8 charges both Italiano and Travis McCabe (“McCabe”). Count 8 alleges that on

or about December 2, 2005, Italiano and McCabe, in relation to and in contemplation of a matter

within the jurisdiction of the FBI, aided and abetted one another in knowingly altering,

concealing, covering up, falsifying, and making entries in documents with intent to impede,

obstruct, and influence the investigation and proper administration of a matter within federal

jurisdiction. Specifically, count 8 charges that Scheuermann and McRae authored and submitted

a false and misleading official report with the intent to impede, obstruct, and influence the

investigation of the September 2, 2005 shooting and burning of Henry Glover.

       Count 9 alleges that on or about April 21, 2009, Italiano knowingly and willfully made

materially false statements and representations in a matter within the jurisdiction of the FBI

when he told FBI agents investigating the shooting and burning of Henry Glover that: (1) no

report was written after the shooting by Warren on September 2, 2005; (2) no missing persons

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reports were being generated after Hurricane Katrina; and (3) he was not aware of a connection

between the September 2, 2005 shooting by Warren and the burning of a car and body behind the

Patterson Road levee. Count 9 further alleges that when Italiano made such statements to the

FBI, he knew that: (1) a report was written after the September 2, 2005 shooting by Warren; (2) a

missing persons report was generated for Henry Glover; and (3) there was a connection between

the Warren shooting and the burned car and body behind the Patterson Road levee.

       Count 10 charges McCabe with knowingly and willfully making materially false

statements and representations in a matter within the jurisdiction of the FBI when he told FBI

agents investigating the shooting and burning of Henry Glover that: (1) he, in collaboration with

Sergeant Purnella Simmons (“Sergeant Simmons”), wrote and typed the incident report that

documented the September 2, 2005 shooting by Warren; (2) he interviewed Officer Linda

Howard (“Officer Howard”) with Sergeant Simmons before writing the incident report; and (3)

the incident report submitted to the NOPD was true and accurate. Count 10 further alleges that

when McCabe made such statements to the FBI he knew that: (1) he did not write the incident

report in collaboration with Sergeant Simmons; (2) he did not interview Officer Howard; and (3)

the incident report submitted to the NOPD was false and inaccurate.

       Count 11 charges that on or about July 31, 2009, McCabe knowingly made a material

declaration under oath in a proceeding before a grand jury of the United States. Specifically,

count 11 alleges that McCabe testified falsely that: (1) he, in collaboration with Sergeant

Simmons, wrote the incident report which documented the September 2, 2005 shooting by

Warren; (2) he interviewed Officer Howard before writing the report; (3) he did not connect the

Warren shooting to the burned car on the Patterson Road Levee until it appeared in the

newspaper; and (4) the incident report submitted to the NOPD was true and accurate. Count 11

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further alleges that when McCabe made such statements he knew that: (1) he did not write an

incident report in collaboration with Sergeant Simmons; (2) he did not interview Officer

Howard; (3) he had been aware, since 2005 (prior to any media reporting), that the Warren

shooting and the burned car on the Patterson Road Levee were connected; and (4) the incident

report submitted to the NOPD was false and inaccurate.

II.       JOINDER

          Italiano moves this Court to find that the superseding indictment improperly joins counts

3 and 4, which directly pertain to Scheueremann and McRae, with the superseding indictment’s

other counts. Federal Rule of Criminal Procedure 8(b) which governs joinder of defendants,

states:

                  The indictment . . . may charge 2 or more defendants if they are
                  alleged to have participated in the same act or transaction or in the
                  same series of acts or transactions, constituting an offense or
                  offenses. The defendants may be charged in one or more counts
                  together or separately. All defendants need not be charged in each
                  count.

          “Rule 8(b) does not require . . . that each defendant have participated in the same act or

acts” in order for joinder of defendants to be proper. United States v. Krenning, 93 F.3d 1257,

1266 (5th Cir. 1996) (citing United States v. Dennis, 645 F.2d 517, 520 (5th Cir. Unit B May

1981), abrogated in part by United States v. Lane, 474 U.S. 438 (1986)). Instead, “All that is

required is a series of acts unified by some substantial identity of facts or participants.” Id.

(internal quotation marks omitted).2


2
  As the United States Court of Appeals for the Tenth Circuit recently explained, “Ultimately, [t]he test for a proper
joinder is a common thread to each of the defendants, which may be established by common evidence as to various
counts.” United States v. Caldwell, 560 F.3d 1202, 1212 (10th Cir. 2009) (alteration in original) (internal quotation
marks and citation omitted). The United States Court of Appeals for the Second Circuit applies “a ‘commonsense
rule’ to decide whether, in light of the factual overlap among charges, joint proceedings would produce sufficient
efficiencies such that joinder is proper notwithstanding the possibility of prejudice to either or both of the defendants
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         “Generally, the propriety of joinder under Rule 8 is to be judged from the allegations of

the indictment, which for these purposes are assumed to be true.” United States v. Whittington,

269 Fed. App’x 388 (5th Cir. Mar. 10, 2008) (quoting United States v. Chagra, 754 F.2d 1186,

1188 (5th Cir. 1985)) (internal quotation marks omitted). Nevertheless, the Fifth Circuit has

acknowledged the power of district courts to look beyond the face of the indictment to determine

whether joinder is proper. See, e.g., United States v. Kaufman, 858 F.2d 994, 1003 (“Joinder of

defendants is proper under Rule 8(b) where the record, examined broadly, presents two

conspiracies substantially interrelated by their facts and participants rather than two separate and

distinct conspiracies.”) More recently, the United States Court of Appeals for the Eleventh

Circuit has held that, “[i]t is enough that when faced with a Rule 8 motion, the prosecutor

proffers evidence which will show the connection between the charges.” United States v.

Dominguez, 226 F.3d 1235, 1241 (11th Cir. 2000). Accordingly, joinder is improper only when

“the indictment fails to show and the prosecutor fails to proffer a sufficient basis in the expected

evidence to justify joinder.” Id.

        “As a general rule, persons indicted together should be tried together . . . .” United States

v. Valdez, 453 F.3d 252 (5th Cir. 2006) (internal quotation marks omitted). “The government

need not allege a conspiracy in order to join defendants . . . .” Dennis, 645 F.2d at 520. As the

United States Supreme Court has explained, “[t]here is a preference in the federal system for

joint trials of defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537,

113 S.Ct. 933, 937, 122 L.Ed 317 (1993). “Joint trials play a vital role in the criminal justice

system” by “promot[ing] efficiency” and “avoiding the scandal and inequity of inconsistent

verdicts.” Id. (internal quotation marks and citation omitted). Accordingly, “The prerequisites

resulting from the joinder.” United States v. Rittweger, 524 F.3d 171, 177 (2nd Cir. 2008) (internal quotation marks
and citation omitted).
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for joinder are liberally construed in favor of joinder.” United States v. Liveoak, 377 F.3d 859,

864 (8th Cir. 2004).

           Italiano essentially makes three arguments regarding why joinder of counts 3 and 4 is

improper. First, Italiano argues that joinder is improper because the government has not alleged

a conspiracy among the codefendants in this case. This argument is unavailing. The Fifth

Circuit has consistently held that “[t]he government need not allege a conspiracy in order to join

defendants . . . .” Dennis, 645 F.2d at 520. Accordingly, the absence of a conspiracy charge in

the superseding indictment does not impact this Court’s joinder analysis.

           Second, Italiano essentially argues that joinder is improper because there is no substantial

identity of fact or participants that connects counts 3, 4, 8, and 9. Italiano argues that “[t]he

accusations against McCrae [sic] and Scheurmann [sic] in counts 3 & 4 have no connection to

the allegations of the indictment against Robert Italiano.”3 Describing the charges contained in

counts 3, 4, 8 and 9 of the superseding indictment, Italiano states:

                    In count 8, Mr. Italiano is accused of conduct pertaining to the
                    writing of a police report relative to defendant David Warren
                    having fired a shot at a person whom Warren reasonably believed
                    was armed & hostile, and who was a threat to his safety and that of
                    his partner. In count 9 Mr. I [sic] is accused of having made false
                    statements to the FBI regarding his knowledge of certain aspects of
                    the shooting by Warren, and of a missing persons report pertaining
                    to Henry Glover. Counts 3 & 4 accuse McCrae [sic] &
                    Scheurmann [sic] of violating the civil rights of “E.K. and W.T.”
                    (Count 3) and “W.T.” (count 4). No assertion contained in Counts
                    8 & 9 connects Mr. I [sic] to the conduct alleged in Counts 3 & 4.4

Nevertheless, in the next breath Italiano acknowledges that:

                    It is true that certain facts are common to counts 3 and 4 and
                    counts 8 and 9. For example, it is a fact that Mr. Glover’s body

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    R. Doc. No. 190, pg. 1.
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    R. Doc. No. 190, pgs. 1-2.
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                 was transported from the area where he may have been shot by
                 David Warren by the use of W.T.’s automobile, and it is also a fact
                 that W.T. and E.K. were transported in the same automobile to the
                 scene of the civil rights violation charged in count 3. It is also a
                 fact that count 4, the charge relative to the destruction of W.T.’s
                 automobile, refers to the same car in which Mr. Glover’s body was
                 transported.

        The Court concludes that joinder of counts 3 and 4 with counts 8 and 9 is proper because

a substantial identity of facts or participants exists among such counts. Krenning, 93 F.3d at

1266. In addition to Italiano’s acknowledgement of the factual overlap among such counts, the

government observes that Italiano is charged in count 8 with obstructing a federal investigation

into both the shooting of Henry Glover and the burning of his body. The government further

observes that “Italiano is charged in Count 9 with making false statements to the [FBI] regarding

the shooting and burning of the car and body . . . .”5 Accordingly, the Court finds that joinder of

counts 3 and 4 with counts 8 and 9 is proper.

        Finally, Italiano argues that joinder is improper because “[t]he acts charged to McCrae

[sic] and Scheurmann [sic] were not part of a common aim or goal relative to Mr. Italiano . . . .”6

In support of such argument, Italiano states that “when ‘individuals commit separate acts which

involve them in separate offenses with no common aim, then the requisite substantial identity of

facts or participants is not present.’”7 As noted above, the Court finds that a substantial identity

of facts or participants exists among counts 3, 4, 8, and 9. Accordingly, joinder is proper

notwithstanding Italiano’s assertion that the crimes alleged against him in counts 8 and 9 do not

share a common aim with those alleged against Scheuermann and McRae in counts 3 and 4.




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  R. Doc. No. 185, pg. 5 (emphasis added).
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  R. Doc. No. 190, pg. 3.
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  Id.
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        III.     SEVERANCE

        Italiano also argues that this Court should sever counts 3 and 4 of the superseding

indictment owing to the prejudice he will suffer if those counts are tried along with the

superseding indictment’s other counts. Specifically, Italiano argues that “the inclusion at trial

of Counts 3 and 4, in combination with recent filings by the government8, [will] likely [have] the

effect of smearing all defendants with the pernicious label of racism, thereby causing substantial

prejudice to Mr. Italiano’s right to a fair a trial.” Nevertheless, Italiano has not directed this

Court to any case in which a court found that severance was warranted owing to the possibility

that a defendant may be prejudiced at trial by accusations of racism levied against his

codefendants.

        Federal Rule of Criminal Procedure 14(a) states:

                 If the joinder of . . . defendants in an indictment . . . appears to
                 prejudice a defendant or the government the court may order
                 separate trials of counts, sever the defendants’ trials, or provide
                 any other relief that justice requires.

As the Fifth Circuit has held, “If defendants have been properly joined, the district court should

grant a severance only if there is a serious risk that a joint trial would compromise a specific trial

right of one of the defendants or prevent the jury from making a reliable determination of guilt or

innocence.” United States v. Bermea, 30 F.3d 1539, 1572 (5th Cir. 1997) (citing Zafiro v.

United States, 506 U.S. 534, 113 S.Ct. 933, 938, 122 L.Ed.2d 317 (1993)). Indeed, “Rule 14

leaves the determination of risk of prejudice and any remedy that may be necessary to the sound

discretion of the district courts.” Zafiro, U.S. 534 at 541. Furthermore, concerns of judicial




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 On September 1, 2010, the government filed notices of intent to use 404(b) evidence with respect to David Warren
and Gregory McRae.
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economy can outweigh the prejudice a defendant suffers when properly joined with

codefendants. See United States v. Ellender, 947 F.2d 748, 754 (5th Cir. 1991).

           Although Italiano does not identify it as such, he is essentially arguing that this Court

should grant a severance because he will be unfairly prejudiced by spillover effect caused by the

joinder of counts 3 and 4. However, “[a] spillover effect, by itself, is an insufficient predicate for

a motion to sever.” United States v. Hidalgo, No. 08-51161, 2010 WL 2782797 (5th Cir. July

12, 2010) (quoting United States v. Bieganowski, 313 F.3d 264, 287 (5th Cir. 2002)) (internal

quotation marks omitted). Furthermore, spillover “is best avoided by precise instructions to the

jury on the admissibility and proper uses of the evidence introduced by the Government.”

United States v. Harrelson, 754 F.2d 1153, 1175 (5th Cir. 1985) (internal quotation marks and

citations omitted).9 Accordingly, the Court finds that severance of counts 3 and 4 of the

superseding indictment is not warranted. If necessary, this Court can guard against the

prejudicial effect of the codefendants’ trial strategies on one another through tailored jury

instructions. Id. at 541.

           Accordingly, IT IS ORDERED that Italiano’s motion10 is DENIED.

           New Orleans, Louisiana, September 27th
                                             ____, 2010.




                                                                         LANCE M. AFRICK
                                                                   UNITED STATES DISTRICT JUDGE



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    The Court will also address the race issue during its voir dire.
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     R. Doc. No. 190.
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